       Case 4:18-cv-00282-MW-MAF Document 109 Filed 01/24/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

 DEONSEY LONTE JOHNSON,
        Plaintiff,
 vs.                                            Case No. 4:18cv282-MW/MAF
 JERRY HILL, et al.,
        Defendants.

                             NOTICE OF APPEARANCE

        NOTICE IS HEREBY GIVEN that the Undersigned Attorney enters his

appearance in the above cause as counsel for the Plaintiff, DEONSEY LONTE

JOHNSON, and requests that all pleadings, motions, and notices be forwarded to

this attorney at the address set forth below.

                     Respectfully Submitted, s/ James V. Cook_________
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                                             Attorney for Plaintiff

I CERTIFY the foregoing was filed electronically on 1/24/2022, serving counsel of
record registered to be notified by the CM/ECF electronic filing system.

                                                        /s/James V. Cook__________
